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                                                                   1
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                                                                   8   Attorneys for Plaintiff North American Electric Reliability Corporation,
                                                                       Third Party Defendant Western Electric Coordinating Council, Inc., and
3800 Howard Hughes Parkway, 16th Floor, Las Vegas, Nevada 89169




                                                                   9   Third Party Defendant Northeast Power Coordinating Council, Inc.
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                                                                  10
                                                                                                            UNITED STATES DISTRICT COURT
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                                                                  11
                                                                                                                      DISTRICT OF NEVADA
                                                                  12
                                                                                                                                  *****
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                                                                                                                  )
                                                                        NORTH          AMERICAN        ELECTRIC )                           Case No.: 3:11-cv-00794-LRH-WGC
                                                                  14    RELIABILITY CORPORATION,                  )
                                                                  15                                              )
                                                                               Plaintiff    and      Counterclaim )
                                                                               Defendant,                         )                         JOINT CASE MANAGEMENT REPORT
                                                                  16                                              )
                                                                        vs.                                       )
                                                                  17                                              )
                                                                        BARRICK GOLDSTRIKE MINES, INC., a )
                                                                  18    Colorado Corporation,                     )
                                                                                                                  )
                                                                  19           Defendant and Counterclaimant,     )
                                                                                                                  )
                                                                  20    and                                       )
                                                                                                                  )
                                                                  21    WESTERN ELECTRIC COORDINATING )
                                                                        COUNCIL, a Utah Corporation and ))
                                                                  22    NORTHEAST POWER COORDINATING )
                                                                        COUNSEL, a New York Corporation           )
                                                                  23
                                                                                                                  )
                                                                        Third-Party Defendants.                   )
                                                                  24
                                                                                                                  )
                                                                                                                  )
                                                                  25

                                                                  26             Pursuant to the Court’s Amended Minute Order dated August 20, 2012 (Doc. No. 44),
                                                                  27   Plaintiff North American Electric Reliability Corporation (“NERC”), Third-Party Defendant
                                                                  28
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                                                                   1   Western Electric Coordinating Council, Inc. (“WECC”), and Third-Party Defendant Northeast

                                                                   2   Power Coordinating Council, Inc. (“NPCC”), by and through their attorneys, Jolley Urga Wirth
                                                                   3
                                                                       Woodbury & Standish, and Defendant Barrick Goldstrike Mines, Inc. (“Barrick”), by and
                                                                   4
                                                                       through its attorneys, Parsons Behle & Latimer (all collectively referred to as the “Parties”),
                                                                   5
                                                                       submit the following Joint Case Management Report.
                                                                   6

                                                                   7        1. STATEMENT OF THE NATURE OF THE CASE

                                                                   8             This case involves a dispute over energy assessments that Barrick allegedly owes NERC
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                                                                   9   as a result of Barrick’s mining operations in Storey County, Nevada. Section 215 of the Energy
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                                                                  10   Policy Act of 2005, Pub. L. 109-58, codified at 16 U.S.C. § 824o (the “Act”) instructs the
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                                                                  11
                                                                       Federal Energy Regulatory Commission (“FERC”) to certify an Electric Reliability Organization
                                                                  12
                                                                       (“ERO”). Under the Act, the ERO is expected to establish and enforce reliability standards for
                                                                  13
                                                                       the bulk power system in the United States and parts of Canada and Mexico. FERC ultimately
                                                                  14

                                                                  15   certified NERC as the ERO. Part of NERC’s responsibilities as ERO is to allocate dues, fees,

                                                                  16   and other charges among end users.

                                                                  17             In its Complaint, NERC asserts claims (1) for declaratory relief that the Act is valid and
                                                                  18   enforceable, and requires Barrick’s payment of energy assessments under the Act, (2) to recover
                                                                  19
                                                                       energy assessments allegedly due from Barrick under the Act, and (3) for unjust enrichment
                                                                  20
                                                                       related to the unpaid assessments. See Complaint, ¶¶ 28-40 (Doc. No. 1). In response to the
                                                                  21
                                                                       Complaint, Barrick counterclaimed and filed a Third-Party Complaint. Barrick asked the Court
                                                                  22

                                                                  23   to declare that (1) the alleged delegation of power by Congress to NERC, WECC and NPCC

                                                                  24   pursuant to the Act is in violation of the United States Constitution, and (2) that NERC, WECC,

                                                                  25   and NPCC lack statutory authority over consumers of electric energy, or assuming they do have
                                                                  26
                                                                       such authority, that Congress exceeded its enumerated powers under the Constitution and
                                                                  27
                                                                       therefore violated the Tenth Amendment to the Constitution. Based on these arguments, Barrick
                                                                  28
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                                                                   1   asked the Court for an injunction prohibiting NERC, WECC and NPCC from registering Barrick

                                                                   2   under the Act, from enforcing reliability standards against Barrick, and from collecting any fees
                                                                   3
                                                                       from Barrick as a consumer of electric energy. See Amended Answer, Counterclaim and Third-
                                                                   4
                                                                       Party Complaint, ¶¶ 29-37 (Doc. No. 17).
                                                                   5
                                                                            2. DESCRIPTION OF THE PRINCIPAL FACTUAL AND LEGAL DISPUTES
                                                                   6
                                                                                 This case appears to involve more legal disputes than factual disputes. The primary
                                                                   7

                                                                   8   disputes are:
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                                                                   9             A) Plaintiff’s Statement:
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                                                                  10                       Whether Barrick is justified in its failure to pay energy assessments imposed
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                                                                  11
                                                                                            under the Act.
                                                                  12
                                                                                           Whether Barrick can properly bring its constitutional challenge of the Act as
                                                                  13
                                                                                            applied to Barrick in this forum versus exhausting its administrative remedies.
                                                                  14

                                                                  15                       Whether Barrick’s challenge of the constitutionality of the Act is valid given that

                                                                  16                        NERC is not part of the government.
                                                                  17             B) Defendant’s Statement:
                                                                  18                       Whether the delegation to, and exercise of executive authority by, NERC and its
                                                                  19
                                                                                            officers, WECC and its officers, and NPCC and its officers, pursuant to the Act,
                                                                  20
                                                                                            contravenes constitutional principles of separation of powers, the Constitution’s
                                                                  21
                                                                                            Appointments Clause, or the Tenth Amendment to the Constitution.
                                                                  22

                                                                  23                       Whether NERC, WECC, or NPCC may exercise authority over (i.e., directly

                                                                  24                        bill) retail consumers of the bulk power system.
                                                                  25        3. JURISDICTIONAL BASIS FOR THE CASE
                                                                  26
                                                                                 The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because of federal
                                                                  27
                                                                       questions arising under the Act. The Court also has subject matter jurisdiction pursuant to 28
                                                                  28
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                                                                   1   U.S.C. § 1332(a) as the parties are citizens of different states and the amount in controversy

                                                                   2   exceeds the sum of $75,000, exclusive of interest and costs. Specifically, the parties’ citizenship
                                                                   3
                                                                       is as follows: NERC (New Jersey); WECC (Utah); NPCC (New York); Barrick (Colorado). As
                                                                   4
                                                                       to the amount in controversy, NERC alleges that Barrick owes more than $180,000 for unpaid
                                                                   5
                                                                       energy assessments.
                                                                   6

                                                                   7        4. PARTIES WHO HAVE NOT BEEN SERVED/APPEARED

                                                                   8             n/a
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                                                                   9        5. ADDING ADDITIONAL PARTIES OR AMENDING PLEADINGS
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                                                                  10             The parties have had extended discussions concerning whether the federal government
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                                                                  11
                                                                       would need to be joined as a party in order to reach a resolution of the constitutional issues
                                                                  12
                                                                       involved in this case. The United States has acknowledged this case but has indicated its belief it
                                                                  13
                                                                       is premature to intervene at this time. See United States of America’s Acknowledgment of
                                                                  14

                                                                  15   Constitutional Challenge (Doc. No. 29).                      Apart from the possibility of the United States

                                                                  16   intervening, the Parties do not expect to add additional parties or otherwise amend their

                                                                  17   respective pleadings in this case at this time.
                                                                  18        6. PENDING MOTIONS
                                                                  19
                                                                                 There are no motions currently pending that would affect the Parties’ ability to comply
                                                                  20
                                                                       with a case management order.
                                                                  21
                                                                            7. CONTEMPLATED MOTIONS
                                                                  22

                                                                  23             A) NERC, WECC, NPCC:

                                                                  24             NERC, WECC and/or NPCC contemplate the possibility of filing a motion to dismiss or

                                                                  25   motion for summary judgment based, at least in part, on the following:
                                                                  26
                                                                                Barrick’s claims must fail because NERC, WECC and/or NPCC are not part of the
                                                                  27             government.

                                                                  28
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                                                                   1            Barrick’s claims must fail based on the fact that FERC has the ability to decertify NERC
                                                                                 as the ERO.
                                                                   2

                                                                   3            Barrick’s claims are barred because it has failed to exhaust the appropriate administrative
                                                                                 remedies.
                                                                   4
                                                                                 B) Barrick:
                                                                   5
                                                                                 Barrick contemplates the possibility of filing a motion to dismiss or motion for summary
                                                                   6

                                                                   7   judgment based, at least in part, on the following:

                                                                   8            NERC, WECC, and/or NPCC may not constitutionally regulate Barrick’s use of
                                                                                 electricity because they are not sufficiently accountable to the President of the United
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                                                                   9             States for their exercise of executive authority.
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                                                                  10
                                                                                NERC, WECC, and/or NPCC may not constitutionally regulate Barrick’s use of
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                                                                  11             electricity because their trustees, officers, and directors were not appointed by the
                                                                                 President, a constitutional “Head of Department,” or other constitutional authority.
                                                                  12
                                                                                NERC, WECC, and/or NPCC may not exercise statutory or regulatory authority over
                                                                  13             retail consumers of electricity.
                                                                  14
                                                                                To the extent NERC, WECC, and/or NPCC may exercise statutory or regulatory
                                                                  15             authority over retail consumers of electricity, the Act and/or its implementing regulations
                                                                                 violate the Commerce Clause and the Tenth Amendment.
                                                                  16
                                                                            8. RELATED CASES
                                                                  17

                                                                  18             n/a

                                                                  19        9. SUPPLEMENTAL DISCUSSION OF NECESSARY DISCOVERY
                                                                  20        a) Extent, Nature and Location of Discovery
                                                                  21
                                                                            NERC, WECC and NPCC:
                                                                  22
                                                                                 NERC, WECC and NPCC will need to depose appropriate representatives of Barrick and
                                                                  23
                                                                       conduct written discovery in the form of interrogatories, requests for production of documents
                                                                  24

                                                                  25   and request for admissions.

                                                                  26        Barrick:

                                                                  27             Barrick will probably need to depose appropriate representatives of FERC, NERC,
                                                                  28
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                                                                   1   WECC, and NPCC, and conduct written discovery in the form of interrogatories, requests for

                                                                   2   production of documents and request for admissions.
                                                                   3
                                                                            b) Suggested Revisions to Discovery Limitations
                                                                   4
                                                                            NERC, WECC and NPCC:
                                                                   5
                                                                            None
                                                                   6
                                                                            Barrick:
                                                                   7

                                                                   8        None
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                                                                   9        c) Number of Hours for Depositions
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                                                                  10        The Parties agree to the seven (7) hour limitation set forth in Rule 30 the Federal Rules of
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                                                                  11
                                                                       Civil Procedure.
                                                                  12
                                                                            10. ELECTRONICALLY STORED INFORMATION (“ESI”)
                                                                  13
                                                                                 Discovery of electronically stored information will be handled under a separate stipulated
                                                                  14

                                                                  15   case management order, the terms of which will be negotiated by the Parties in good faith as

                                                                  16   soon as reasonably possible.

                                                                  17        11. CLAIMS OF PRIVILEGE OR WORK PRODUCT
                                                                  18             The Parties have agreed to negotiate a protective order to address claims of privilege
                                                                  19
                                                                       and/or work product, if necessary. At this time, however, no specific claims have been asserted
                                                                  20
                                                                       and no formal agreements have been reached regarding the resolution of anticipated claims of
                                                                  21
                                                                       privilege and/or work product.
                                                                  22

                                                                  23        12. JURY/BENCH TRIAL

                                                                  24             No request has been made for a jury trial.

                                                                  25        13. ESTIMATED LENGTH OF TRIAL
                                                                  26
                                                                                 NERC, WECC, and NPCC’s estimate:
                                                                  27                  Plaintiff’s case in chief: 1 day
                                                                                      Barrick’s case in chief: 4 to 5 days
                                                                  28
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                                                                   1             Barrick’s estimate:
                                                                                        Plaintiff’s case in chief: 1 day
                                                                   2                    Barrick’s case in chief: 3 to 4 days
                                                                   3
                                                                             14. PROSPECTS FOR SETTLEMENT
                                                                   4
                                                                                 As the Court is aware, the Parties have engaged in extended settlement discussions
                                                                   5
                                                                       throughout this case. On June 7, 2012, the Parties and counsel met in Las Vegas and discussed a
                                                                   6
                                                                       possible framework for settlement.                   This case presents unique challenges because Barrick
                                                                   7

                                                                   8   produces power on a sporadic, as needed basis, only to satisfy the energy requirements of its
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                                                                   9   Goldstrike Mine in Northern Nevada. There are hundreds of NERC-administered reliability
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                                                                  10   standards that apply to entities that generate and transmit electrical power. In addition, certain
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                                                                  11
                                                                       rules which define thresholds for the applicability of reliability standards are evolving. The
                                                                  12
                                                                       challenge for the Parties in this case is to determine which standards, if any, should apply to
                                                                  13
                                                                       Barrick and its facilities. Settlement discussions throughout this case have made it evident that
                                                                  14

                                                                  15   this process is necessarily time consuming and requires a high level of technical expertise. Since

                                                                  16   June 7, 2012, the Parties have continuously worked together exchanging highly technical

                                                                  17   information in an effort to reach resolution. Discussions have continued and settlement offers
                                                                  18   continue to be exchanged as of the filing of this report. Upon reaching a general understanding
                                                                  19
                                                                       and accord regarding the applicability of standards, a settlement of the remaining issues is
                                                                  20
                                                                       plausible.
                                                                  21
                                                                       ///
                                                                  22

                                                                  23   ///

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                                                                   1         15. ADDITIONAL MATTERS
                                                                   2             No additional matters at this time.
                                                                   3

                                                                   4   DATED this 16th day of October, 2012.                                 DATED this 16th day of October, 2012.

                                                                   5   JOLLEY URGA WIRTH WOODBURY                                            PARSONS BEHLE & LATIMER
                                                                       & STANDISH
                                                                   6

                                                                   7
                                                                                 /s/ L. Christopher Rose                                               /s/ Alan S. Mouritsen
                                                                   8
                                                                       By:      _________________________________                            By:_______________________ _________
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                                                                  15             Electric Reliability Corporation, Third                               (pro hac vice)
                                                                                 Party Defendant Western Electric                                      ALAN S. MOURITSEN, ESQ.
                                                                  16             Coordinating Council, Inc., and                                       (pro hac vice)
                                                                                 Third Party Defendant Northeast                                       201 South Main Street, Suite 1800
                                                                  17             Power Coordinating Council, Inc.                                      Salt Lake City, Utah 84145
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                                                                  18                                                                                   Facsimile:     (801) 536-6111
                                                                  19
                                                                                                                                                       Attorneys for Defendant/
                                                                  20                                                                                   Counterclaimant Barrick Goldstrike
                                                                                                                                                       Mines, Inc.
                                                                  21

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